       Case 1:15-cv-00241-DBH Document 12 Filed 11/24/15 Page 1 of 2                  PageID #: 76




                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE


CHARLES ARRIGONI, as next friend and             )
Personal representative of the Estate of         )
CAMERON ARRIGONI                                 )
                                                 )       Case No. 1:15-cv-00241-DBH
            Plaintiff,                           )
                                                 )
v.                                               )
                                                 )
CHRISTIAN BAILEY, et al.                         )
                                                 )
            Defendants.                          )


                                      STIPULATION OF DISMISSAL

            Now come the parties in this matter, by and through undersigned counsel, and hereby

stipulate to the dismissal of all claims against Defendants Christian Bailey, the Town of

Hampden, and Chief Joseph Rogers, pursuant to F.R.Civ.P. 41(a)(1)(ii). The dismissal shall be

with prejudice, and without costs to any party.

Dated: November 24, 2015

                                                           /s/ Verne E. Paradie, Jr.
                                                           Verne E. Paradie, Jr., Esq.
                                                           Counsel for Plaintiffs
                                                           Paradie, Sherman, Walker & Worden
                                                           11 Lisbon Street, Suite 202
                                                           Lewiston, ME 04240
                                                           (207) 344-9362


                                                           /s/ Edward R. Benjamin, Jr.
                                                           Edward R. Benjamin, Jr., Esq.
                                                           Kasia S. Park, Esq.
                                                           Counsel for Defendants
                                                           Drummond Woodsum & MacMahon
                                                           84 Marginal Way, Suite 600
                                                           Portland, ME
                                                           (207) 772-1941

                                                     1
	  
       Case 1:15-cv-00241-DBH Document 12 Filed 11/24/15 Page 2 of 2                    PageID #: 77




                                     CERTIFICATE OF SERVICE


            I hereby certify that on November 24, 2015, I electronically filed the Stipulation of

Dismissal with the Clerk of CM/ECF system, which will send notification of such filings to all

counsel of record.



                                                  /s/Verne E. Paradie, Jr.
                                                  Counsel for Plaintiffs




                                                     2
	  
